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                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF LOUISIANA

IN THE MATTER OF:                                                          CASE NO. 19-11462
                                                                           Section "B"
LEVIE, EDWARD J.

                                                                           CHAPTER 7
DEBTOR(S)

                 TRUSTEE'S PETITION OF DISCLAIMER AND ABANDONMENT

TO THE CLERK OF BANKRUPTCY COURT FOR SAID DISTRICT:

        The petition of the undersigned Trustee of the estate of the above named Debtor(s), with
respect represents:

         On the grounds that there is no equity in the hereinafter described property for the
Debtor(s)' estate over and above such mortgage and/or other liens as may affect the said property
and such exemptions as may apply thereto, or that if there is any such equity, it is not sufficient
to justify administration.

        The undersigned Trustee (in his official capacity under Federal Law) as representative of
the estate of the Debtor(s), does, subject to the approval of this Court, disclaim and abandon all
such right, title, and interest of the said Debtor(s) estate in and to the following described
property:

(1) Household goods, appliances, and furniture. c
(2) Wearing apparel. c
(3) Real property located at 1825 Justin Dr., Covington, LA.a                c

(4) $300.84 bank account balance.b
(5) $670.46 debit card balance.b
(6) Household electronics.b
(7) Gardening tools.c
(8) Grill, outdoor furniture, & books.b
(9) Wedding rings.c
(10) 2004 Toyota Camry.c
(11) Equity interest in Landscaping by Rainforest, Inc.b

                                                              /s/David V. Adler 7/3/19
                                                              David V. Adler, Trustee
                                                              P.O. Box 55129
                                                              Metairie, LA 70055-5129
                                                              504-834-5465

_________________________________
a
    Encumbered beyond value.
b
    Insufficient value or equity to justify administration.
c
    Exempt in whole or part.
